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                             No. 24-13895

In the United States Court of Appeals for the Eleventh Circuit
  UNITED FACULTY OF SAINT LEO, NATIONAL EDUCATION
ASSOCIATION FLORIDA EDUCATION, AMERICAN FEDERATION
                OF TEACHERS, AFL-CIO,
                                             Petitioner,
                         v.
          NATIONAL LABOR RELATIONS BOARD,
                                           Respondent,
                  SAINT LEO UNIVERSITY, INC.,
                                                          Intervenor.
  On Petition for Review from the National Labor Relations Board,
      Case Nos. 12-CA-275612, 12-CA-275617, 12-CA-275639,
   12-CA-275640, 12-CA-275641, 12-CA-275642, 12-CA-1275644,
                  12-CA275645, and 12-CA-284360

 INTERVENOR SAINT LEO UNIVERSITY’S RESPONSE IN
OPPOSITION TO MOTION TO VOLUNTARILY DISMISS AND
    CROSS-MOTION FOR SUMMARY DENIAL OF THE
              PETITION FOR REVIEW

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        CERTIFICATE OF INTERESTED PERSONS AND
          CORPORATE DISCLOSURE STATEMENT
  Pursuant to Eleventh Circuit Rule 26.1, counsel for Intervenor hereby
certifies that the following persons and entities have or may have an in-
terest in the outcome of this case:

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    • Siwica, Richard (counsel for Petitioner)
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    • United Faculty of Saint Leo, National Education Association
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    • Varberg, Jordan T. (counsel for Intervenor)
    • Wilcox, Gwynne A. (former Board Member, NLRB)
    • Zerby, Christopher (counsel for Respondent)


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  Pursuant to Eleventh Circuit Rule 26.1-3(b), counsel certifies that no
publicly traded corporation has an interest in this proceeding.

  Pursuant to Federal Rule of Appellate Procedure 26.1(a), Intervenor
Saint Leo University, Inc. certifies that it is not publicly traded, that it
does not have any parent corporations, and that as a nonprofit corpora-

tion it does not issue any stock.

Dated: June 20, 2025                           Respectfully submitted,
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                           INTRODUCTION
  It is no mystery why Petitioner, United Faculty of Saint Leo (“Union”),
is running away from its own petition for review: Its petition is foreclosed
by controlling precedent. Over forty years ago, the Supreme Court held
that, due to the “guarantees of the First Amendment Religion Clauses,”

the National Labor Relations Board lacks “jurisdiction over teachers in
church-operated schools.” NLRB v. Catholic Bishop of Chi., 440 U.S. 490,
507 (1979). Ever since, federal courts have uniformly rejected the Board’s
attempts to assert jurisdiction over teachers in religious schools.
  Undeterred, the Union here asked the Board to assert jurisdiction over
the faculty of Intervenor Saint Leo University—the oldest Catholic uni-
versity in Florida. Applying settled law, the Board refused. The Union
then filed this petition for review, asking this Court to do what no federal
court has ever done before: order the Board to exercise jurisdiction over
teachers in a religious school.
  That request is foreclosed as a matter of law. Even the Union now ap-
pears to agree—moving to dismiss its own petition, without explanation,
after the close of briefing. But when “the position of one of the parties is
clearly right as a matter of law so that there can be no substantial ques-
tion as to the outcome of the case,” the appropriate course is “[s]ummary

disposition”—not dismissal. Ixcoy-Itzep v. U.S. Att’y Gen., No. 21-12446,
2021 WL 4305016, at *1 (11th Cir. Sept. 22, 2021) (quoting Groendyke
Transp., Inc. v. Davis, 406 F.2d 1158, 1162 (5th Cir. 1969)).


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   Dismissal would be particularly inappropriate here because it would
facilitate the Union’s costly litigation gamesmanship. The Union has now
subjected Saint Leo to over four years of intrusive litigation, which the
Supreme Court has warned can itself “impinge on rights guaranteed by
the Religion Clauses.” Catholic Bishop, 440 U.S. at 502. Yet absent a rul-

ing from this Court, nothing would stop the Union from dragging Saint
Leo before the Board again as soon as the Board’s composition changes.
   Accordingly, the Court should reject the Union’s belated attempt to
evade judicial review and summarily deny its petition for review.
                              BACKGROUND
   Saint Leo University was founded in 1889 by Benedictine monks, who
established the University together with Saint Leo Abbey, a Benedictine
monastery and church that thrives at the heart of campus today.
AR.920:23-921:7, 1811-13, 2027, 2519. Since its founding, Saint Leo Uni-
versity has proudly remained “rooted in the Catholic faith and in the
spirit of [its] Benedictine founders.” AR.1818. It publicly communicates
its Catholic identity in many highly visible ways, both on campus and
online. See Intervenor Br. at 11 (collecting examples). Its leadership re-
flects its Catholic identity. Id. at 11-12 (same). And it provides all its
community members numerous opportunities to study and live the Cath-

olic faith. Id. at 9-10 (same).
   In 2020, to strengthen its Catholic identity and bolster its ability to
carry out its mission, Saint Leo withdrew recognition of the faculty Union


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and adopted a shared model of governance in its place. AR.2436, 1718.
The Union then filed a complaint with the Board. AR.1270-82.
  After six days of in-person hearings, an Administrative Law Judge dis-
missed the complaint for lack of jurisdiction. The ALJ held that the case
was controlled by Catholic Bishop and the three-part test of University of

Great Falls v. NLRB, 278 F.3d 1335 (D.C. Cir. 2002), which “correctly
interpreted” Catholic Bishop. AR.3631. Under that test, the Board lacks
jurisdiction over the faculty of an educational institution that (1) “holds
itself out to the public as a religious institution,” (2) “is nonprofit,” and
(3) “is religiously affiliated.” AR.3631 (quoting Great Falls, 278 F.3d at
1348). The ALJ held that Saint Leo clearly satisfies that test, AR.3627-
32, and the Board unanimously agreed, AR.3623-26.
  The Union then petitioned this Court for review. Dkt. 1. In its brief,
the Union doesn’t seriously dispute that Saint Leo satisfies the Great
Falls test. Br. 37. Instead, it asks this Court to adopt a different test (Br.
24)—one that has been expressly rejected by the Board and D.C. Circuit
and has never been adopted by any federal court.
  After Saint Leo and the NLRB filed their briefs, Dkts. 33, 46, 47, the
Union filed a motion for voluntary dismissal of its petition for review.
Dkt. 53. Saint Leo now offers this response and cross-motion for sum-

mary denial of the petition. Pursuant to Eleventh Circuit Rule 27-1(a)(5),
Saint Leo consulted with the Union and Board on this cross-motion, and
they object to the requested relief.


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                              ARGUMENT
  “Summary disposition is appropriate where ‘the position of one of the
parties is clearly right as a matter of law so that there can be no substan-
tial question as to the outcome of the case[.]’” Ixcoy-Itzep, 2021 WL
4305016, at *1 (quoting Groendyke, 406 F.2d at 1162).

  This Court, and others, have not hesitated to apply this standard to
summarily deny petitions for review of agency actions. See, e.g., Lemus-
Portillo v. U.S. Att’y Gen., 822 F. App’x 918, 921 (11th Cir. 2020) (sum-
mary denial of petition to review order of Board of Immigration Appeals);
Holyoke Visiting Nurses Ass’n v. NLRB, No. 8-1894, 2009 WL 690091, at
*1 (1st Cir. Feb. 26, 2009) (summary denial of petition to review decision
of NLRB); NLRB v. Beverly Cal. Corp., 25 F. App’x 427, 429 (7th Cir.
2001) (same); Clement v. DEA, No. 21-1262, 2022 WL 1701534, at *1
(D.C. Cir. May 25, 2022) (summary denial of petition to review decision
of Drug Enforcement Administration).
  This includes denying petitions where the “petition is foreclosed by
precedent,” Guanume v. U.S. Att’y Gen., 808 F. App’x 978, 980 (11th Cir.
2020), or where the agency correctly determined that it lacked jurisdic-
tion over the petitioner’s initial challenge, cf. Johnson v. SEC, No. 23-
13499, 2024 WL 1430696, at *2 (11th Cir. Apr. 3, 2024) (summary affir-

mance where district court lacked jurisdiction over complaint against
SEC). Summary disposition has also been granted when the appealing
party has moved to voluntarily dismiss its own appeal. See Glaxo, Inc. v.


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Boehringer Ingelheim Corp., 119 F.3d 14, at *1-*2 (Fed. Cir. 1997) (Ta-
ble).
     That is the appropriate course here. Settled precedent establishes that
the Board lacks jurisdiction over Saint Leo. And the Union’s attempt to
run away from its own appeal only confirms that the Board’s position is

clearly right as a matter of law. Accordingly, the petition for review
should be summarily denied.
I.    The Board’s position is “clearly right as a matter of law.”
     In a straightforward application of controlling precedent, the Board
held that it lacks jurisdiction over Saint Leo. This decision follows di-
rectly from an unbroken line of precedent uniformly holding that the
Board lacks jurisdiction over teachers in religious schools. See Intervenor
Br. 19-26.
     The precedent starts with NLRB v. Catholic Bishop, in which the Su-
preme Court rejected the Board’s attempt to assert jurisdiction over
teachers at Catholic high schools. 440 U.S. 490 (1979). The Court ex-
plained that Board jurisdiction would raise “serious First Amendment
questions” because the “religious character of … church-related schools
gives rise to entangling church-state relationships.” Id. at 503-04. Collec-

tive bargaining over “nearly everything that goes on” in a religious school,
the Court held, could lead to a “process of inquiry” that would “impinge
on rights guaranteed by the Religion Clauses.” Id. at 502-03.




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   Soon after, the federal circuits began applying Catholic Bishop to pro-
tect religious universities. The First Circuit’s decision in Universidad
Central de Bayamon v. NLRB, 793 F.2d 383 (1st Cir. 1985) (en banc) was
the first to foreclose jurisdiction over faculty at religious universities; it
was followed by a trio of D.C. Circuit decisions that reached the same

conclusion. See Intervenor Br. 21-25. The D.C. Circuit ultimately distilled
Catholic Bishop into a three-part test (called the Great Falls test) for de-
termining when the Board lacks jurisdiction over a religious school. Spe-
cifically, it held that the Board lacks jurisdiction when a religious school:
(1) holds itself out to the public as a religious institution; (2) is non-profit;
and (3) is religiously affiliated. Great Falls, 278 F.3d at 1347.
   For almost two decades, the Board resisted complying with the Great
Falls test, adopting various intrusive tests that would allow it to assert
jurisdiction over teachers in religious schools. See Intervenor Br. 21-26.
But each time, the D.C. Circuit rejected those tests, concluding that they
“impermissibly intrude[d] into religious matters.” Duquesne Univ. of the
Holy Spirit v. NLRB, 947 F.3d 824, 833-34 (D.C. Cir. 2020) (rejecting the
“Pacific Lutheran test”); see also Carroll Coll., Inc. v. NLRB, 558 F.3d
568, 574 (D.C. Cir. 2009); Intervenor Br. 24-25. Eventually, after re-
peated losses at the D.C. Circuit, the Board likewise adopted the Great

Falls test and has followed it ever since. Bethany Coll., 369 NLRB No. 98
(June 10, 2020).




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  The Union doesn’t seriously dispute that Saint Leo satisfies the Great
Falls test. It offers only a conclusory statement with no argument to the
contrary. See Br. 35-36. For good reason: It is undisputed that Saint Leo
is a nonprofit entity affiliated with the Catholic Church, and that the
Board identified ample, “undisputed evidence” that Saint Leo “clearly”

and “regularly” “holds itself out to the public and to students as a reli-
gious institution.” AR.3623-24; see also Intervenor Br. 26-29.
  Instead, the Union asked this Court to do something which no court,
in forty-six years since Catholic Bishop, has ever done before: order the
Board to assert jurisdiction over teachers in a religious school. To do so,
the Union argued that this Court should adopt “the Pacific Lutheran
standard,” Br. 24, in direct conflict with the D.C. Circuit, which has re-
jected that standard, and with the First Circuit, which has rejected Board
jurisdiction over religious universities. Intervenor Br. 21-26.
  But the Union has never offered a valid, or even nonfrivolous, reason
for adopting such an unprecedented course and creating a circuit split.
See Intervenor Br. 30-34. There is none. And the Union’s attempt to run
away from its own appeal only confirms as much. Accordingly, the appro-
priate course is to summarily deny the petition.
II. The Court should not facilitate the Union’s gamesmanship.
  By seeking to dismiss its own petition, the Union is seeking to evade
judicial resolution of what it knows is a losing appeal. This Court
shouldn’t facilitate such gamesmanship. The Union has subjected Saint


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Leo to over four years of proceedings before the ALJ, the Board, and this
Court, including six days of in-person hearings, extensive documentary
exhibits, and examination of nine University witnesses. This is not cost-
free; as the Supreme Court has warned, “It is not only the conclusions
that may be reached by the Board which may impinge on rights guaran-

teed by the Religion Clauses, but also the very process of inquiry leading
to findings and conclusions.” Catholic Bishop, 440 U.S. at 502.
  After the ALJ and Board unanimously rejected the Union’s complaint
under settled precedent, the Union petitioned this Court for review and
filed its opening brief. Saint Leo moved to intervene, retained additional
appellate counsel, and filed its own brief. The NLRB also filed its brief
requesting denial of the petition. Only now, after subjecting Saint Leo to
years of litigation, exhausting significant party and governmental re-
sources, and engaging in extensive appellate briefing, does the Union
seek to dismiss its appeal. And it is not hard to see why: the Union wants
to evade a judicial ruling that would preclude future attempts to unionize
the faculty of Saint Leo and other religious schools in this Circuit.
  This is unfortunately a common practice among unions that seek to
intrude in religious universities. In Pacific Lutheran itself, the union
strategically withdrew its petition for unionization after the Board ruled

in the Union’s favor, insulating that decision from judicial review. See
Intervenor Br. 24-25. Similarly, in a recent Board proceeding involving




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Loma Linda University, which is affiliated with the Seventh-day Advent-
ist Church, the union, suspecting an unfavorable result, withdrew its pe-

tition before the Board after extensive proceedings, preventing the Board
from rendering a final decision. See EIS Office Letter, Loma Linda In-
land Empire Consortium for Healthcare Educ., No. 31-RC-312064 (NLRB

Feb. 7, 2025). The goal is clear: to evade Board and judicial rulings con-
firming the constitutional limits on agency jurisdiction over religious
schools.

  Permitting this sort of gamesmanship leaves Saint Leo and other reli-
gious universities in a vulnerable position. While Supreme Court and cir-
cuit precedent is clear, the Board has a long history of refusing to acqui-
esce to federal court rulings on the limits of its jurisdiction. See Interve-
nor Br. 21-26 (collecting examples); Heartland Plymouth Ct. MI, LLC v.
NLRB, 838 F.3d 16, 21-25 (D.C. Cir. 2016) (noting the problems with

NLRB nonacquiescence to federal court rulings). The Board is also noto-
rious for changing its legal positions across different presidential admin-
istrations. See Charlotte Garden, Toward Politically Stable NLRB Law-
making: Rulemaking vs. Adjudication, 64 Emory L. J. 1469, 1471-72 &
n.9 (2015). Thus, absent a judicial ruling with respect to Saint Leo, there
is nothing stopping the Union from dragging Saint Leo before the Board

again once the Board’s composition changes. No doubt that is why the
Union seeks to evade a judicial ruling here. But that is also why this
Court should reject the Union’s gamesmanship—and the heavy First


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Amendment costs it imposes—and summarily deny the fully briefed pe-
tition for review.
                            CONCLUSION
   This Court should deny the Union’s motion for voluntary dismissal
and grant Saint Leo’s motion to summarily deny the petition for review.

Dated: June 20, 2025                        Respectfully submitted,
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                 CERTIFICATE OF COMPLIANCE
   1. This motion complies with the type-volume limitation of 11th Cir.

R. 27-1 and Fed. R. App. P. 27(d)(2) because, excluding the parts of the
motion exempted by Fed. R. App. P. 32(f), this motion contains 2,230
words.

   2. This motion complies with the typeface requirements and type-style
requirements of 11th Cir. R. 27-1(a)(11) and Fed. R. App. P. 32(a)(5)-(6)
because it has been prepared in a proportionally spaced typeface using
Microsoft Word for Microsoft 365 MSO in 14-point Century Schoolbook
font.
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                                   Counsel for Intervenor
                                   Saint Leo University



                     CERTIFICATE OF SERVICE
   I certify that on June 20, 2025, I electronically filed the foregoing mo-
tion to with the Clerk of Court via the Court’s CM/ECF system. I further
certify that all counsel of record are registered CM/ECF users and were
served through the CM/ECF system.

                                   /s/ Luke W. Goodrich
                                   Luke W. Goodrich
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                                   Saint Leo University



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